Case 15-20697-jrs      Doc 310     Filed 09/12/19 Entered 09/12/19 16:01:36         Desc Main
                                   Document      Page 1 of 4




  IT IS ORDERED as set forth below:



  Date: September 12, 2019
                                                   _____________________________________
                                                               James R. Sacca
                                                         U.S. Bankruptcy Court Judge

 _______________________________________________________________




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION

IN RE:                       :    CHAPTER 7
                             :
LAPRADE’S MARINA, LLC,       :    CASE NO. 15-20697-JRS
                             :
     Debtor.                 :
                             :
             ORDER APPROVING MOTION FOR APPROVAL OF
                   COMPROMISE AND SETTLEMENT

         This matter is before the Court on the Motion For Approval of Compromise and Settlement

(the “Motion”) (Docket No. 308) filed by S. Gregory Hays, as Chapter 7 Trustee (the

“Trustee”) for the Estate (the “Estate”) of LaPrade’s Marina, LLC, Debtor (the “Debtor”) in the

above captioned Bankruptcy Case (the “Bankruptcy Case”). The Motion seeks entry of an order,

pursuant to Section 105(a) of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

                                               4
Case 15-20697-jrs       Doc 310     Filed 09/12/19 Entered 09/12/19 16:01:36              Desc Main
                                    Document      Page 2 of 4


“Bankruptcy Code”) and Rule 9019(a) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), approving a Settlement Agreement (the “Settlement Agreement”)1

attached as Exhibit “A” to the Motion by and between the Trustee, Christine Anzo, Performance

Consulting Partners, LLC, and Peter Dominic Anzo.

       Having reviewed and considered the Motion and the record in this Case, the Court finds

that: 1) the relief requested in the Motion is in the best interests of the Trustee, the Estate,

creditors and other parties in interest; 2) the Court has jurisdiction over this proceeding; 3) this is

a core proceeding; 4) notification of the relief granted by this Order is fair and reasonable; 5) due

and proper notice of the Motion was given and such notice is good and sufficient under the

particular circumstances; 6) no objections were filed or asserted to the relief sought in the Motion;

and 7) good and sufficient cause exist for the relief requested in the Motion, for the entry of this

Order, and approval of the Settlement. For good cause shown, is it hereby ORDERED as follows:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Settlement Agreement attached to the Motion is hereby approved, including,

without limitation, all terms, provisions, rights and releases and any objection to the Trustee

entering into the Settlement Agreement is hereby overruled.

       3.      The Court hereby adopts, approves, and incorporates into this Order the provisions

of the Settlement Agreement, including, without limitation, the recitals.

       4.      The Trustee is authorized to enter and consummate the Settlement Agreement,

perform and make payments under the terms of the Settlement Agreement, provide the release




1
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in
the Motion.
                                                 4
Case 15-20697-jrs     Doc 310     Filed 09/12/19 Entered 09/12/19 16:01:36             Desc Main
                                  Document      Page 3 of 4


contained in the Settlement Agreement, and take any and all steps in the sole discretion of the

Trustee to complete and consummate the Settlement Agreement.

       5.     This Court shall retain jurisdiction to resolve any and all disputes arising from this

Order and the Settlement.

                                      [END OF ORDER]


Prepared and Presented by:

LAW OFFICES OF HENRY F. SEWELL JR., LLC

By: Henry F. Sewell, Jr.
    Henry F. Sewell, Jr.
    Georgia Bar No. 636265
    Buckhead Centre
    2964 Peachtree Road NW, Suite 555
    Atlanta, GA 30305
    (404) 926-0053
    hsewell@sewellfirm.com

Counsel for S. Gregory Hays, as Chapter 7 Trustee
for the Estate of LaPrade’s Marina, LLC, Debtor




                                               4
Case 15-20697-jrs     Doc 310    Filed 09/12/19 Entered 09/12/19 16:01:36   Desc Main
                                 Document      Page 4 of 4




                                     DISTRIBUTION LIST

Henry F. Sewell, Jr., Esq.
Buckhead Centre
2964 Peachtree Road NW, Suite 555
Atlanta, GA 30305

David S. Weidenbaum, Esq.
Office of the United States Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303

Will B. Geer, Esq.
Wiggam & Geer, LLC
50 Hurt Plaza, SE, Suite 1245
Atlanta, Georgia 30303

Scott B. Riddle, Esq.
Law Office of Scott B. Riddle, LLC
Suite 1800, 100 Tower Place
3340 Peachtree Road, NE
Atlanta, Georgia 30326




                                            4
